






Opinion issued February 6, 2003 












In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-01086-CR

____________


DONALD DALE HAWLEY, Appellant


V.


THE STATE OF TEXAS, Appellee







On Appeal from the 230th District Court

Harris County, Texas

Trial Court Cause No. 908720






MEMORANDUM  OPINION

	Appellant filed a motion to dismiss the appeal.  The motion is in writing,
signed by appellant and counsel.  We have not yet issued a decision.  Accordingly,
the appeal is dismissed.  Tex. R. App. P. 42.2(a).

	The clerk of this Court is directed to issue mandate immediately.  Tex. R.
App. P. 18.1.

PER CURIAM

Panel consists of Justices Taft, Keyes, and Higley.

Do not publish.  Tex. R. App. P. 47.2(b).


